            Case 1:22-cv-02225-JPC Document 6 Filed 06/24/22 Page 1 of 1


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
SHARON JOYNER,                                                         :
                                                                       :
                                    Plaintiff,                         :
                                                                       :     22 Civ. 2225 (JPC)
                  -v-                                                  :
                                                                       :           ORDER
HAUTE BABY, INC.,                                                      :
                                                                       :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        On June 16, 2022, the Court ordered Plaintiff “to file a status letter by June 23, 2022,

describing (1) whether service of the summons and Complaint has been made on Defendant, and

(2) if service has not been effected on Defendant, whether Plaintiff requests an extension of time to

serve Defendant.” Dkt. 5 at 1. The June 23 deadline has passed and Plaintiff has not filed this

ordered status letter. By June 29, 2022, Plaintiff shall file a status letter as outlined in the June 16,

2022 Order. If Plaintiff fails to file the status letter and/or the proof of service on the docket by the

June 29, 2022 deadline, the Court may dismiss this case without further notice for failure to comply

with the Court’s orders and Rule 4(m) of the Federal Rules of Civil Procedure.

        SO ORDERED.

Dated: June 24, 2022                                       __________________________________
       New York, New York                                           JOHN P. CRONAN
                                                                  United States District Judge
